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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 In re Grand Canyon Education, Inc. Securities
                                                    Civil Action No. 1:20-cv-00639-MN-CJB
 Litigation


       NOTICE OF WITHDRAWAL OF APPEARANCE OF EVAN N. GLUSTROM

        PLEASE TAKE NOTICE that the appearance of Evan N. Glustrom (pro hac vice) on behalf

 of Grand Canyon Education, Brian E. Mueller, and Daniel E. Bachus is hereby withdrawn. All

 other counsel of record will remain as counsel for Defendants.

 Dated: April 25, 2023

                                                    /s/ Peter H. Kyle
                                                   Ronald N. Brown, III (DE Bar No. 4831)
                                                   Peter H. Kyle (DE Bar No. 5918)
                                                   DLA PIPER LLP (US)
                                                   1201 North Market Street, Suite 2100
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 468-5700
                                                   Facsimile: (302) 394-2341
                                                   ronald.brown@dlapiper.com
                                                   peter.kyle@dlapiper.com

                                                   John L. Latham (pro hac vice)
                                                   Cara M. Peterman (pro hac vice)
                                                   Timothy J. Fitzmaurice (pro hac vice)
                                                   ALSTON & BIRD
                                                   One Atlantic Center
                                                   1201 West Peachtree Street, Suite 4900
                                                   Atlanta, Georgia 30309
                                                   Telephone: (404) 881-7000
                                                   Facsimile: (404) 881-7777
                                                   john.latham@alston.com
                                                   cara.peterman@alston.com
                                                   tim.fitzmaurice@alston.com

                                                   Counsel for Defendants
